Case 2:14-cv-00734-GW-FFM Document 54 Filed 11/24/14 Page 1 of 1 Page ID #:256



  1

  2

  3

  4

  5

  6

  7

  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10

 11   ANN FOX, individually and on                    CASE NO. CV 14-734-GW(FFMx)
      behalf of all others similarly situated,
 12                                                   ORDER GRANTING JOINT
                     Plaintiff,                       STIPULATION TO CONTINUE
 13                                                   BRIEFING SCHEDULE AND
      v.                                              HEARING DATE FOR MOTION
 14                                                   FOR PRELIMINARY APPROVAL
      ASSET ACCEPTANCE, LLC,                          OF CLASS ACTION SETTLEMENT
 15
                     Defendant.
 16

 17

 18           Having considered the Parties’ Joint Stipulation To Continue Briefing
 19   Schedule and Hearing Date for Motion for Preliminary Approval of Class Action
 20   Settlement (“Stipulation”), and finding good cause to GRANT the Stipulation, the
 21   Court hereby orders that the deadline for filing a motion for preliminary approval of
 22   class action settlement is continued to November 25, 2014, and the hearing on the
 23   motion for preliminary approval remains December 15, 2014 at 8:30 a.m.
 24           IT IS SO ORDERED.
 25

 26   Date: November 24, 2014                    _________________________________
 27                                              HON. GEORGE H. WU
                                                 UNITED STATES DISTRICT JUDGE
 28
                                                  1
           [PROPOSED] ORDER GRANTING JOINT STIPULATION TO CONTINUE BRIEFING SCHEDULE AND
                 HEARING DATE FOR MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
